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1     TRACY L. WILKISON
      United States Attorney
2     SCOTT M. GARRINGER
      Assistant United States Attorney
3     Chief, Criminal Division
      KRISTEN A. WILLIAMS (Cal. Bar No. 263594)
4     Deputy Chief, Major Frauds Section
      ALI MOGHADDAS (Cal. Bar No. 305654)
5     DAVID H. CHAO (Cal. Bar No. 273953)
      DAVID C. LACHMAN (Cal. Bar No. 261711)
6     Assistant United States Attorneys
      Major Frauds/General Crimes Sections
7          1100 United States Courthouse
           312 North Spring Street
8          Los Angeles, California 90012
           Telephone: (213) 894-2400
9          Facsimile: (213) 894-6269
           E-mail:     Kristen.Williams@usdoj.gov
10                     Ali.Moghaddas@usdoj.gov
                       David.Chao@usdoj.gov
11                     David.Lachman@usdoj.gov
12    Attorneys for Plaintiff
      UNITED STATES OF AMERICA
13
                               UNITED STATES DISTRICT COURT
14
                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
      UNITED STATES OF AMERICA,                No. CR 17-661(A)-DMG
16
                 Plaintiff,                    GOVERNMENT’S OPPOSITION TO
17                                             DEFENDANT JULIAN OMIDI’S TRIAL
                       v.                      MEMORANDUM CONCERNING SUMMATION
18
      JULIAN OMIDI,
19      aka “Combiz Omidi,”
        aka “Combiz Julian Omidi,”
20      aka “Kambiz Omidi,”
        aka “Kambiz Beniamia Omidi,”
21      aka “Ben Omidi,”
      SURGERY CENTER MANAGEMENT, LLC,
22    and
      MIRALI ZARRABI, M.D.,
23      aka “Mirali Akba Ghandchi
             Zarrabi,”
24      aka “M.A. Ghandchi Zarrabi,”

25               Defendants.

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27          Plaintiff United States of America, by and through its counsel
28    of record, the United States Attorney for the Central District of
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1     California and Assistant United States Attorneys Kristen A. Williams,

2     Ali Moghaddas, David H. Chao, and David C. Lachman, hereby files its

3     opposition to defendant Julian Omidi’s Trial Memorandum Concerning

4     Summation (Dkt. 1549).

5           This opposition is based upon the attached memorandum of points

6     and authorities, and exhibit thereto, the files and records in this

7     case, and such further evidence and argument as the Court may permit.

8      Dated: December 13, 2021             Respectfully submitted,

9                                           TRACY L. WILKISON
                                            United States Attorney
10
                                            SCOTT M. GARRINGER
11                                          Assistant United States Attorney
                                            Chief, Criminal Division
12

13                                                /s/
                                            KRISTEN A. WILLIAMS
14                                          ALI MOGHADDAS
                                            DAVID H. CHAO
15                                          DAVID C. LACHMAN
                                            Assistant United States Attorneys
16

17                                          Attorneys for Plaintiff
                                            UNITED STATES OF AMERICA
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1                         MEMORANDUM OF POINTS AND AUTHORITIES

2           Defendant JULIAN OMIDI (“OMIDI”) moves the Court to instruct the

3     jury that the government “improperly described” testimony regarding

4     Larry Twersky’s discovery of the falsification of sleep study

5     reports.    OMIDI’s selective view of the evidence is wrong, and the

6     Court should reject his request.        During trial, Klasky testified

7     that, after he confessed the scheme to Twersky, OMIDI called Klasky

8     to his office and confronted him about divulging the fraud.            Klasky

9     described OMIDI’s reaction as follows: “You go downstairs and just,
10    ‘What the F are you doing?’       You know, we have a business arrangement
11    with a business partner, and all you are doing is ruining that.”
12    (Tr. 4798:7-10.)     This conversation, in which OMIDI and Klasky talked
13    about the confession, makes clear that Klasky confirmed to OMIDI that
14    he did tell Twersky.      That is why OMIDI excoriated Klasky with
15    statements like, “What the F are you doing?” and “[A]ll you are doing
16    is ruining that.”     Moreover, Klasky was clear that OMIDI was mad

17    about Twersky finding out, noting that “I know Julian was upset about

18    Larry finding out” (Tr. 4797:25), and that Julian used expletives as

19    described above.     Accordingly, the government’s statements in

20    summation were based on the evidence adduced at trial.

21          OMIDI appears to take issue with whether it was Klasky or

22    Twersky who first told OMIDI about the confession.           While Klasky may

23    not have remembered breaking the news (Tr. 4797:24), Twersky

24    testified that Klasky was the one who first told OMIDI.           (See Tr.

25    6336:9-12 (“I got a call from Charles on my drive back saying that he

26    had talked to Julian already and expect a call from him . . .”).)

27    Regardless, this is a red herring since the government made no claims

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1     about whether it was Klasky or Twersky who first told OMIDI about the

2     confession of the scheme. 1

3           Next OMIDI argues that the Court should preemptively instruct

4     the government from raising new arguments during rebuttal.            No such

5     instruction is needed.      The government does not intend to do more

6     than respond to defense arguments in rebuttal, which includes

7     pointing the jury to evidence in the record disproving the defense’s

8     theories and advancing arguments to which the defendant has opened

9     the door.    See United States v. Gray, 876 F.2d 1411, 1417-18 (9th
10    Cir. 1989).    In doing so, the government does not anticipate making

11    arguments based on evidence never introduced, like those which caused

12    the Ninth Circuit to reverse the conviction in United States v.

13    Maloney, 755 F.3d 1044, 1045-46 (9th Cir. 2014) (“Though there was

14    never any evidence introduced regarding whether Maloney had luggage

15    with him on the trip, for the first time in rebuttal during closing

16    argument, the prosecutor argued that Maloney must have lied about the

17    details of his trip because he had no luggage with him when he was

18    apprehended.”).     See also United States v. Gleason, 616 F.2d 2, 25-26

19    (2d Cir. 1979) (noting that reversal might have been required because

20    the tabulation of the amounts from admitted exhibits into a specific

21    total had not been a part of the record before).          While the

22    government will endeavor to be efficient in its rebuttal, given the

23    length of the anticipated summation by OMIDI and the fact that the

24    government has not yet heard the details of his arguments, the

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27          1The government lastly notes that OMIDI failed to object
      contemporaneously during summation in accordance with the Court’s
28    procedures.
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1     government may well need the remainder of its time (1 hour and 52

2     minutes) to respond.

3           Lastly, OMIDI asks the Court to reconsider its decision not to

4     order the government to turn over the entirety of its PowerPoint

5     slides used in opening summation.        The Court has already denied the

6     request and the government is appending to this filing the slide at

7     issue (Tr. 8771) in compliance with the Court’s order.

8           For the foregoing reasons, the Court should deny OMIDI’s various

9     requests.
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                                  Exhibit A
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“JO TOLD ME” TO USE SHORTER HEIGHT
